                                      United States Bankruptcy Court
                                           District of Arizona
In re:                                                                                  Case No. 19-11759-DPC
NORMAN L RACHELS                                                                        Chapter 13
LEA ANN RACHELS
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0970-2           User: stangretw              Page 1 of 2                   Date Rcvd: Oct 17, 2019
                               Form ID: 309I                Total Noticed: 36


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 19, 2019.
db/jdb         +NORMAN L RACHELS,    LEA ANN RACHELS,    13440 N 44TH STREET,    APT 3102,
                 PHOENIX, AZ 85032-6398
aty            +LEONARD J. MCDONALD, JR.,    TIFFANY & BOSCO, P.A.,    SEVENTH FLOOR CAMELBACK ESPLANADE II,
                 2525 E. CAMELBACK ROAD,    PHOENIX, AZ 85016-9240
tr              RUSSELL BROWN,    CHAPTER 13 TRUSTEE,    SUITE 800,   3838 NORTH CENTRAL AVENUE,
                 PHOENIX, AZ 85012-1965
15763207       +Bank of America,    4909 Savarese Circle,    Fl1-908-01-50,    Tampa FL 33634-2413
15763210       +CarMax Auto Finance,    Attn: Bankruptcy,    Po Box 440609,    Kennesaw GA 30160-9511
15763216       +Deptartment Store National Bank/Macy’s,     Attn: Bankruptcy,    9111 Duke Boulevard,
                 Mason OH 45040-8999
15763219       +Kohls/Capital One,    Attn: Bankruptcy,    Po Box 30285,    Salt Lake City UT 84130-0285
15763220       +Linoln Automotive Financial Services,     Attn: Bankruptcy,    Po Box 542000,
                 Omaha NE 68154-8000
15763221       +Members Choice Fcu,    520 W Patterson Dr,    Bloomington IN 47403-4829
15763222       +North Carolina Department of Revenue,     501 North Wilmington Street,     Raleigh NC 27604-8002
15763228       +Taylor Christina Mcalpin,    POB 176010,    Raleigh NC 27619-6010
15763232        Wells Fargo Home Mor,    Attn: Written Correspondence/Bankruptcy,     Mac#2302-04e Pob 10335,
                 Des Moines IA 50306

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: tom@nwrelief.com Oct 18 2019 01:47:45        THOMAS ADAMS MCAVITY,
                 PHOENIX FRESH START BAKRUPTCY ATTORNEYS,     4602 E Thomas Rd, Ste S-9,     PHOENIX, AZ 85028
smg             EDI: AZDEPREV.COM Oct 18 2019 05:23:00       AZ DEPARTMENT OF REVENUE,     BANKRUPTCY & LITIGATION,
                 1600 W. MONROE, 7TH FL.,    PHOENIX, AZ 85007-2650
15763206       +EDI: GMACFS.COM Oct 18 2019 05:23:00       Ally Financial,    Attn: Bankruptcy Dept,
                 Po Box 380901,    Bloomington MN 55438-0901
15763208        EDI: BANKAMER.COM Oct 18 2019 05:23:00       Bank Of America,    Attn: Bankruptcy,    Po Box 982238,
                 El Paso TX 79998
15763209       +EDI: CAPITALONE.COM Oct 18 2019 05:23:00       Capital One,    Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City UT 84130-0285
15805671        EDI: CAPITALONE.COM Oct 18 2019 05:23:00       Capital One Bank (USA), N.A.,
                 by American InfoSource as agent,    PO Box 71083,     Charlotte, NC 28272-1083
15775939       +E-mail/Text: bankruptcy@cavps.com Oct 18 2019 01:49:35        Cavalry SPV I, LLC,
                 500 Summit Lake Drive, Ste 400,    Valhalla, NY 10595-2321
15763211       +EDI: CHASE.COM Oct 18 2019 05:23:00       Chase Card Services,    Attn: Bankruptcy,    Po Box 15298,
                 Wilmington DE 19850-5298
15763212       +EDI: CITICORP.COM Oct 18 2019 05:23:00       Citibank,    Attn: Recovery/Centralized Bankruptcy,
                 Po Box 790034,    St Louis MO 63179-0034
15763213       +EDI: CITICORP.COM Oct 18 2019 05:23:00       Citibank,    Centralized Bankruptcy,    Po Box 790034,
                 St Louis MO 63179-0034
15763214       +EDI: CITICORP.COM Oct 18 2019 05:23:00       Citibank/Goodyear,
                 Citibank Corp/Centralized Bankruptcy,     Po Box 790034,    Saint Louis MO 63179-0034
15763215       +EDI: CITICORP.COM Oct 18 2019 05:23:00       ConocoPhillips/Citibank,
                 Citicorp Credit Services/Centralized Ban,     Po Box 790040,    St. Louis MO 63179-0040
15763217        E-mail/Text: bankruptcy@glsllc.com Oct 18 2019 01:47:52        Global Lending Services LLC,
                 Attn: Bankruptcy,    Po Box 10437,    Greenville SC 29603
15763218       +EDI: IRS.COM Oct 18 2019 05:23:00       Internal Revenue Service,    PO Box 7346,
                 Philadelphia PA 19101-7346
15763223        EDI: PRA.COM Oct 18 2019 05:23:00       Portfolio Recovery,    Attn: Bankruptcy,
                 120 Corporate Blvd,    Norfold VA 23502
15763523       +EDI: PRA.COM Oct 18 2019 05:23:00       PRA Receivables Management, LLC,     PO Box 41021,
                 Norfolk, VA 23541-1021
15763224       +EDI: STF1.COM Oct 18 2019 05:23:00       Suntrust Bk,    Attn: Bankruptcy,
                 Mail Code VA-RVW-6290 PO Box 85092,     Richmon VA 23285-5092
15763225       +EDI: RMSC.COM Oct 18 2019 05:23:00       Synchrony Bank,    Attn: Bankruptcy,    Po Box 965060,
                 Orlando FL 32896-5060
15763226       +EDI: RMSC.COM Oct 18 2019 05:23:00       Synchrony Bank/ JC Penneys,    Attn: Bankruptcy,
                 Po Box 956060,    Orlando FL 32896-0001
15763227       +EDI: RMSC.COM Oct 18 2019 05:23:00       Synchrony Bank/Select Comfort,     Attn: Bankruptcy Dept,
                 Po Box 965060,    Orlando FL 32896-5060
15763229        EDI: WFFC.COM Oct 18 2019 05:23:00       Wells Fargo Bank Ia N,    Attn: Bankruptcy Dept,
                 Po Box 6429,   Greenville SC 29606
15763230       +EDI: WFFC.COM Oct 18 2019 05:23:00       Wells Fargo Bank NA,    Attn: Bankruptcy,
                 1 Home Campus Mac X2303-01a,    Des Moines IA 50328-0001
15775000       +EDI: WFFC.COM Oct 18 2019 05:23:00       Wells Fargo Bank, N.A.,    435 Ford Road, Suite 300,
                 St. Louis Park, MN 55426-4938
15763231       +EDI: WFFC.COM Oct 18 2019 05:23:00       Wells Fargo Dealer Services,    Attn: Bankruptcy,
                 Po Box 19657,    Irvine CA 92623-9657
                                                                                                TOTAL: 24




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                                      Form ID: 309I                      Total Noticed: 36


             ***** BYPASSED RECIPIENTS (continued) *****

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                Wells Fargo Bank, N.A.
cr*              +PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
                                                                                                                    TOTALS: 1, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 19, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 17, 2019 at the address(es) listed below:
              LEONARD J. MCDONALD, JR.   on behalf of Creditor   Wells Fargo Bank, N.A. ecf@tblaw.com
              RUSSELL BROWN    ecfmailclient@ch13bk.com
              THOMAS ADAMS MCAVITY   on behalf of Debtor NORMAN L RACHELS tom@nwrelief.com,
               melissa@nwrelief.com
              THOMAS ADAMS MCAVITY   on behalf of Joint Debtor LEA ANN RACHELS tom@nwrelief.com,
               melissa@nwrelief.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                            TOTAL: 5




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Information to identify the case:
Debtor 1                 NORMAN L RACHELS                                                       Social Security number or ITIN     xxx−xx−3161

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                 LEA ANN RACHELS                                                        Social Security number or ITIN     xxx−xx−0786
(Spouse, if filing)
                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        District of Arizona
                                                                                                Date case filed for chapter 13 9/15/19
Case number:          2:19−bk−11759−DPC



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Your case could be dismissed if you do not file the required documents, fail to
appear at the meeting of creditors, failure to file required tax returns or if you do not provide photo identification and
proof of social security number to the trustee at the meeting.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)


To protect your rights, consult an attorney. The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         NORMAN L RACHELS                                              LEA ANN RACHELS

2. All other names used in the
   last 8 years
                                              13440 N 44TH STREET                                           13440 N 44TH STREET
3. Address                                    APT 3102                                                      APT 3102
                                              PHOENIX, AZ 85032                                             PHOENIX, AZ 85032
                                              THOMAS ADAMS MCAVITY                                          Contact phone 503−739−3474
4. Debtor's  attorney
   Name and address
                                              PHOENIX FRESH START BAKRUPTCY ATTORNEYS
                                              4602 E Thomas Rd, Ste S−9
                                                                                                            Email: tom@nwrelief.com

                                              PHOENIX, AZ 85028

5. Bankruptcy trustee                         RUSSELL BROWN                                                 Contact phone 602−277−8996
     Name and address                         CHAPTER 13 TRUSTEE                                            Email: mail@ch13bk.com
                                              SUITE 800
                                              3838 NORTH CENTRAL AVENUE
                                              PHOENIX, AZ 85012−1965

6. Bankruptcy clerk's office                                                                                Office Hours:
     Documents in this case may be filed                                                                    8:30 am − 4:00 pm Monday−Friday
     at this address.                         U.S. Bankruptcy Court, Arizona
     You may inspect all records filed in     230 North First Avenue, Suite 101
     this case at this office or online at    Phoenix, AZ 85003−1727
                                                                                                            Contact Phone: (602) 682−4000
      www.pacer.gov.
                                                                                                            Date: 10/17/19
                                                                                                                  For more information, see page 2




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Debtor NORMAN L RACHELS and LEA ANN RACHELS                                                                                 Case number 2:19−bk−11759−DPC

7. Meeting of creditors
    Debtors must attend the meeting to     November 13, 2019 at 09:30 AM                                     Location:
    be questioned under oath. In a joint
    case, both spouses must attend.                                                                          US Trustee Meeting Room, 230 N. First
    Creditors may attend, but are not      The meeting may be continued or adjourned to a later
    required to do so.                     date. If so, the date will be on the court docket.                Avenue, Suite 102, Phoenix, AZ
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 1/13/20
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 11/25/19
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 3/13/20
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Deadline for holder(s) of a claim secured by a security interest in the debtor's principal residence (Rule
                                           3002(c)(7)(A): 70 days from Case Filed Date.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has not filed a plan as of this date. A copy of the plan and a notice of the hearing on confirmation will
                                           be sent separately.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                           the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




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